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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------x
JUAN K. LENOIR,                                                :
                                                               :
                        Plaintiff,                             :   No. 19-CV-10370 (RA) (OTW)
                                                               :
                      -against-                                :   ORDER
                                                               :
BEST BUY CO. INC.,
                                                               :
                        Defendant.                             :
                                                               :
                                                               :
-------------------------------------------------------------x

         ONA T. WANG, United States Magistrate Judge:

         The Court is in receipt of Defendant’s October 15, 2020 status letter. (ECF 42). Despite

Defendant’s efforts to meet and confer with Plaintiff in advance of submitting the letter,

Plaintiff did not respond. (ECF 42 at 1). Plaintiff has a history of delaying discovery and non-

responsiveness. See, e.g., ECF 21, 36, 39.

         Defendant requests: (1) an order compelling Plaintiff to provide long-delayed medical

authorizations; (2) an order setting Plaintiff’s deposition to occur before December 31, 2020;

and (3) an order setting an expert discovery schedule. The applications are GRANTED.

         It is HEREBY ORDERED that:

    •    By October 23, 2020, Plaintiff shall sign and return all outstanding medical

         authorizations to Defendants.

    •    By November 13, 2020, the parties are directed to meet and confer on a date for

         Plaintiff’s deposition to occur before December 31, 2020. Plaintiff’s deposition shall

         occur remotely.
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   •   Within 30 days of Plaintiff’s deposition, Plaintiff must serve any expert report(s).

       Defendant shall have 75 days from Plaintiff’s deposition, to serve its expert report(s).

   •   Parties shall submit a joint status letter on November 13, 2020.

Failure to comply with the above schedule may result in sanctions, and the Court may further

apportion costs under Federal Rules of Civil Procedure 16, 30, 37(a)(5)(A)-(C), 37(b), and/or the

Court’s inherent authority. If the failure to comply with the above schedule is due to Plaintiff’s

failure to respond to Defendant or work with Defendant in good faith, this Court may

recommend that the case be dismissed for failure to prosecute.

       Defendant is ordered to serve a copy of this Order on Plaintiff via email and mail, and

shall file proof of such service on the docket within 7 days of this Order.

       The Clerk of Court is respectfully directed to close ECF 42.

       SO ORDERED.



                                                            s/ Ona T. Wang
Dated: October 19, 2020                                   Ona T. Wang
       New York, New York                                 United States Magistrate Judge
